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                           UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF RHODE ISLAND

IN RE:          KRISTIN M. ALLARD                             Chapter 7
                                                              BK No. 18-10820
                        Debtor

       CONSENTED TO MOTION FOR i) EXAMINATION UNDER FEDERAL
      BANKRUPTCY RULE 2004 AND ii) FOR PRODUCTION OF DOCUMENTS

         Charles A. Pisaturo, Jr., Chapter 7 trustee of the above referenced debtor's bankruptcy

estate (the "Trustee"), by his attorney, hereby moves pursuant to Federal Bankruptcy Rule of

Procedure 2004 and Local Rule 2004-1, that this Court enter an order: i) directing that Janis

Goneconte of 14 Carriage Way, North Providence, Rhode Island appear and make herself

available for examination by the Trustee or his counsel at the Federal Center 380 Westminster

Street, 6th Floor, Room 620, in Providence, Rhode Island on October 15, 2018 beginning at 3:00

P.M., or such other date and time as the Trustee and Janis Goneconte agree; and ii) directing that

Janis Goneconte produce for the Trustee the documents identified in the accompanying Exhibit

A by October 10, 2018 at the law office of trustee’s counsel, 1055 Elmwood Avenue,

Providence, Rhode Island. In support of this motion, the Trustee respectfully states as follows:

         1.     Kristin M. Allard, the debtor, filed a Chapter 7 bankruptcy petition in this Court

on May 9, 2018. Charles A. Pisaturo, Jr., is the Chapter 7 trustee.

         2.     On information and belief, and according to the debtor’s testimony as well as a

copy of a recorded quitclaim deed provided to the trustee by the debtor, on January 9, 2017, the

debtor transferred real estate located at 11 Hudson Street in Providence, Rhode Island

(hereinafter the “Property”) for no consideration. On information and belief, Janis Goneconte

then granted a mortgage on the Property to Theresa Primo (the debtor’s aunt, current owner of

the Property and subject of a previous motion for examination, see docket #13 and 20) in the



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amount of $206,000 on August 23, 2017.

        3.      The trustee wrote to Ms. Goneconte on August 21, 2018. Mrs. Goneconte’s

attorney contacted the trustee and agreed to October 15, 2018 at 3:00 P.M. for her examination

and for the production of documents.

        4.      Federal Bankruptcy Rule 2004 permits the “examination of any entity” provided

the examination “relate[s]. . . to the acts, conduct, or property or to the liabilities and financial

condition of the debtor, or to any matter which may affect the administration of the debtor’s

estate, or to the debtor’s right to a discharge.” Fed. R. Bankr. P. 2004(b). Moreover, the scope of

Rule 2004 is “extremely broad.” In re Youk-See, 450 B.R. 312, 319 (Bankr. D. Mass. 2011),

citing In re GHR Energy Corp., 33 B.R. 451, 453 (Bankr. D. Mass. 1983) (“unfettered and

broad”). The examination may properly extend to creditors who have had dealings with the

debtor, including in appropriate cases such creditors’ policies and procedures. In re Youk-See,

450 B.R. at 322, 324.

        5.      The Trustee seeks to examine Janis Goneconte regarding the mortgage on the

Property, as well as any other matter appropriate and allowable for a Bankruptcy Rule 2004

examination.

        WHEREFORE, the Trustee moves that the Court enter an order: i) directing Janis

Goneconte of 14 Carriage Way, North Providence, Rhode Island appear and make herself

available for examination by the Trustee and/or the Trustee’s counsel at the Federal Center 380

Westminster Street, 6th Floor, Room 620, in Providence, Rhode Island for examination on

October 15, 2018 beginning at 3:00 P.M. or such other date and time as the Trustee and Janis

Goneconte may agree; and ii) directing that Janis Goneconte produce for the Trustee the




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documents identified in the attached Exhibit A by October 9, 2018 or at or by such other time as

the parties may agree; and iii) granting such other and further relief as is just.

                                               Charles A. Pisaturo, Jr., Chapter 7 Trustee
                                               By His Attorney,


September 24, 2018                             /s/ Charles A. Pisaturo, Jr.
                                               CHARLES A. PISATURO, JR. (REG NO. 4615)
                                               Law Offices of Charles A. Pisaturo, Jr.
                                               1055 Elmwood Avenue
                                               Providence, RI 02907
                                               TEL: (401) 274-3800
                                               FAX: (401) 751-6786

                                              NOTICE

Within fourteen (14) days after service, if served electronically, as evidenced by the certification,
and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if served by mail or other
excepted means specified, any party against whom such paper has been served, or any other
party who objects to the relief sought, shall serve and file an objection or other appropriate
response to said paper with the Bankruptcy Court Clerk's Office, 380 Westminster Street, 6th
Floor, Providence, RI 02903, (401) 626-3100. If no objection or other response is timely filed,
the paper will be deemed unopposed and will be granted unless: (1) the requested relief is
forbidden by law; (2) the requested relief is against public policy; or (3) in the opinion of the
Court, the interest of justice requires otherwise.

                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 24th day of September, 2018, I served by electronic filing
(ECF) or regular US Mail, a true copy of the within CHAPTER 7 TRUSTEE’S MOTION FOR
EXAMINATION to the following parties: Gary L. Donahue, Esq., Assistant U.S. Trustee, Peter
G. Berman, Esq., Marc D. Wallick, Esq.:

Janis A. Goneconte
14 Carriage Way
North Providence, RI 02904

Frank S. Lombardi, Esq.
Frank S. Lombardi Law Associates, P.C.
225 Broadway
Providence, RI 02903
fsl@lombardilawri.com




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James J. McNulty
40 Court Street Suite 1150
Boston, MA 02108

PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541
                                         /s/ Jennifer Peters
                                         Jennifer Peters
                                         Law Offices of Charles A. Pisaturo, Jr.
                                         1055 Elmwood Avenue
                                         Providence, RI 02907




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                                            EXHIBIT A

DEFINITIONS

For the purposes of this request for production, the following definitions control:

A. "Documents" are documents, records, books, papers, contracts, memoranda, invoices,
correspondence, notes, studies, reports, photographs, drawings, charts, maps, graphs, other
writings, recording tapes, recording discs, mechanical or electronic information or recording
elements, applications, settlement statements, and any other "documents" as defined in Rule 34,
Fed. R. Civ. P. If a document has been prepared in several versions, or if additional copies have
made which are not identical or are no longer identical by reason of subsequent notation or
marking of any kind, each non-identical copy is a separate document.

B. "Relating" means referring to, being evidence of, memorializing, or concerning in any way all
or any portion of the specified facts or contentions.

C. “Property” means the real estate located at 11 Hudson Street in Providence, Rhode Island
evidenced by that certain quit claim deed a copy of which is attached hereto.

If an objection is made to a request or any portion thereof on a claim of privilege or any other
basis, state with particularity the basis of the claim of privilege or other grounds asserted for
nondisclosure, and identify each document or portion thereof withheld, together with a brief
description of its contents.

REQUESTS

1.     Any and all documents relating to any and all loans, liens and encumbrances, including
any mortgages secured by and/or recorded against the Property since January 9, 2017, including
any and all settlement statements.

2.     Any and all bank account statements relating to and/or evidencing any and all loan funds
from Janis Goneconte to Theresa Primo relating to the Property.

3.      Any and all documents relating to any loans from Janis Goneconte to Theresa Primo that
are claimed to be secured by the Property, for example, canceled checks, evidence of wire
transfers, deposit slips, etc.

4.       Any and all documents which relate to any and all obligations, loans, indebtedness, and
liabilities of any kind alleged to be owed and for which the Property is allegedly pledged as
collateral.




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